FROM FRANKLIN.
The defendant offered in evidence a deed of bargain and sale for the same land, executed by Jeffries to him, dated between the February and May term, 1820, of the Court from which the execution above mentioned issued.
MARTIN, J., instructed the jury that a writ of fieri facias created a *Page 229 
lien upon the property of the defendant from its teste; and where a succession of such writs issued the lien related to the teste of the first, so as to invalidate an alienation by the defendant as against the subsequent sale under the writ.
A verdict was returned for the lessor of the plaintiff, and the defendant appealed.
The principle laid down by the Court below is a very old one. It is considered as thoroughly settled that, as against the defendant in the execution, and all claiming by his alienation a fieri facias binds from itsteste. Without entering at a large into the subject, it will sufficient to refer to what was said by me on this point in Palmer v. Clarke, ante, 356. Numerous cases also support the opinion, as to the relation of an alias
duly issued.
PER CURIAM.                                            Affirmed.
Cited: Harding v. Spivey, 30 N.C. 65; McIver v. Ritter, 60 N.C. 607.